108 F.3d 1371
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Nathaniel B. APPLEBY-EL, Plaintiff-Appellant,v.Bishop ROBINSON, Secretary, Public Safety &amp; Corrections;Richard Lanham, Commissioner, Division ofCorrections;  Eugene Nuth, Warden,Defendants-Appellees.
    No. 96-7417.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 13, 1997.Decided March 19, 1997.
    
      Nathaniel B. Appleby-El, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Glenn T. Marrow, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      Before HALL, ERVIN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Appleby-El v. Robinson, No. CA-95-1253-AW (D.Md. Aug. 2, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    